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                     7

                     8                      UNITED STATES DISTRICT COURT
                     9                    CENTRAL DISTRICT OF CALIFORNIA
                    10

                    11   CONVERGEONE, INC.,                             Case No. 2:20-cv-00939
                    12                             Plaintiff,           Complaint Filed: January 29, 2020
                    13        v.                                        COMPLAINT FOR:
                    14   YUNEEC USA, INC; FIREBIRD                    (1) BREACH OF CONTRACT
                         INTERNATIONAL, LLC; and DOES                 (2) DECLARATORY RELIEF
                    15   1 to 10, inclusive,
                    16                             Defendants.
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                     1         Plaintiff ConvergeOne, Inc. (“ConvergeOne” or “Plaintiff”), by and through
                     2   its attorneys, Drinker Biddle & Reath LLP, hereby files this complaint for breach of
                     3   contract and declaratory relief and, in support thereof, avers as follows:
                     4                                    INTRODUCTION
                     5         1.     This is an action for breach of contract and declaratory relief. As set
                     6   forth below, Defendants Firebird International, LLC (“Firebird”), Yuneec USA, Inc.
                     7   (“Yuneec”) and DOES 1-10, inclusive, (collectively, “Defendants”) have breached
                     8   the agreement with ConvergeOne to offset payment of rent by ConvergeOne, and/or
                     9   tender payment to ConvergeOne, related to ConvergeOne’s expenses incurred as a
                    10   result of remediation at the leased property located at 5555 Ontario Mills Parkway,
                    11   Ontario, California 91764.
                    12                                         PARTIES
                    13         2.     Plaintiff ConvergeOne, Inc. is a Minnesota corporation organized and
                    14   existing under and by virtue of the laws of the state of Minnesota with its principal
                    15   offices located at 10900 Nesbitt Avenue South, Bloomington, Minnesota 55437.
                    16   ConvergeOne is a citizen of Minnesota.
                    17         3.     Defendant Yuneec USA, Inc. is a Delaware corporation organized and
                    18   existing under and by virtue of the laws of the state of Delaware, with its principal
                    19   offices located at 2275 Sampson Avenue, Suite 200, Corona, California 92879.
                    20   Yuneec is a citizen of Delaware and California.
                    21         4.     Defendant Firebird International, LLC is a California limited liability
                    22   company organized and existing under and by virtue of the laws of the state of
                    23   California, with its principal offices located at 2275 Sampson Avenue, Suite 200,
                    24   Corona, California 92879. Firebird is a citizen of California.
                    25         5.     ConvergeOne is unaware of the true names, identities, and capacities of
                    26   the defendants sued herein as DOES 1 to 10. ConvergeOne will seek leave to amend
                    27   this complaint to allege the true names and capacities of DOES 10 to 10 if and when
                    28   ascertained. ConvergeOne is informed and believes, and thereon alleges, that each
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                     1   defendant dues herein as a DOE is legally responsible in some manner for the events
                     2   and happenings alleged herein and that each Defendant sued herein as a DOE
                     3   proximately caused injuries and damages to ConvergeOne as set forth below.
                     4          6.      ConvergeOne is informed and believes, and based upon such
                     5   information and belief alleges, that, with respect to the various matters alleged herein
                     6   and at the various times described herein, Defendants acted as an agent, alter-ego
                     7   and/or joint venture of one another, and in doing the things alleged herein acted
                     8   within the course and scope of such agency, employment, conspiracy, alter-ego
                     9   and/or in furtherance of the joint venture. ConvergeOne is informed and believes,
                    10   and based upon such information and belief further alleges, that each of the acts
                    11   alleged herein was done with the permission and consent of each of the others.
                    12          7.      ConvergeOne is informed and believes, and based upon such
                    13   information and belief alleges, that each Defendant acted both individually and in
                    14   alignment with the other Defendants with full knowledge of their respective wrongful
                    15   conduct. As such, Defendants conspired together, building upon each other’s
                    16   wrongdoing, in order to accomplish the acts outlined in this Complaint.
                    17                              JURISDICTION AND VENUE
                    18          8.      The Court has jurisdiction over this matter under 28 U.S.C. § 1332(a)(1)
                    19   and 28 U.S.C. § 2201(a). The amount in controversy exceeds $75,000, exclusive of
                    20   interest and costs, and there is complete diversity of citizenship between
                    21   ConvergeOne (a citizen of Minnesota), and the Defendants (citizens of Delaware and
                    22   California).
                    23          9.      Venue is proper in this district under 28 U.S.C. § 1391(b)(2) because a
                    24   substantial part of the events or omissions giving rise to the claim occurred, or a
                    25   substantial part of the property that is the subject of the action is situated in this
                    26   district.
                    27   ///
                    28   ///
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                     1                             GENERAL ALLEGATIONS
                     2         10.    ConvergeOne is informed and believes, and based upon such
                     3   information and belief alleges that Defendant Firebird is the owner of the industrial
                     4   real property and improvements located at 5555 Ontario Mills Parkway, Ontario,
                     5   California 91764 (the “Property”). The improvements on the Property consist of a
                     6   mixed-use warehouse and office building. ConvergeOne is informed and believes,
                     7   and based upon such information and belief alleges that Defendant Firebird is an
                     8   alter-ego, agent, parent and/or subsidiary of Defendant Yuneec, acting on Defendant
                     9   Yuneec’s behalf.
                    10         11.    On or about September 17, 2018 Defendant Firebird executed a lease
                    11   for the Property with ConvergeOne, in writing, for a term of five years commencing
                    12   January 1, 2019 and ending December 31, 2023 at a base rent of $31,450 per month
                    13   (“Lease”). A copy of the written Lease is attached hereto as Exhibit “A”.
                    14         12.    Pursuant to the agreement reached between ConvergeOne and
                    15   Defendants at or around the time of execution of the Lease, ConvergeOne was
                    16   permitted to assume possession of the Property on or around September 2018 without
                    17   any requirement to pay rent until commencement of the Lease on January 1, 2019.
                    18         13.    During the time period set forth in paragraph 12, above, ConvergeOne
                    19   undertook remediation efforts at the Property with Defendants’ consent and approval.
                    20   ConvergeOne is informed and believes, and based upon such information and belief
                    21   alleges that at or shortly after the time of execution of the Lease in September 2018,
                    22   ConvergeOne notified Defendants of necessary remediation work at the Property,
                    23   including that to remedy building code violations. ConvergeOne is informed and
                    24   believes, and based upon such information and belief alleges that at or shortly after
                    25   the time of execution of the Lease in September 2018 Defendants and/or Defendants’
                    26   agent and/or Defendants’ property manager agreed to an offset of payment of rent by
                    27   ConvergeOne, and/or tender of payment to ConvergeOne, in exchange for
                    28   ConvergeOne undertaking the remediation efforts and ConvergeOne’s expenses
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                     1   incurred as a result of remediation at the Property. The remediation expenses
                     2   included a number of building code violations, as confirmed by an inspector from the
                     3   City of Ontario, caused as a result of Defendants’ failure to properly maintain the
                     4   Property.   These remediation expenses include: backflow repairs for the main
                     5   domestic water service; leaking ball valves in water system; demolition of
                     6   structurally damages walls; exterior light repairs for non-functioning lights causing
                     7   significant security risk; repair and replacement of drywall as a result of mold growth;
                     8   repair to non-functioning security gates; repair structural damage and add wall
                     9   kickers for code incompliant walls; repair unpermitted electrical conduits; repair
                    10   perimeter walls; repair non-functional exhaust fan in warehouse; repair warehouse
                    11   foil insulation; remove foliage at northwest corner of Property causing security
                    12   hazard; repair paint to exterior of building; repair irrigation and landscape areas due
                    13   to non-functioning backflow preventer; repair non-functioning sewer; replace
                    14   electrical room door with panic hardware required by inspector; replace exterior
                    15   damaged doors; repair damaged roof access ladder; replace nonfunctioning HVAC
                    16   units; ensure ADA compliance of Property; repair asphalt; repair broken fire
                    17   sprinkler system and certify repair of the same; and repair broken glass on doors and
                    18   windows.
                    19         14.     The aforementioned remediation totaled no less than $396,794.82 in
                    20   costs incurred by ConvergeOne. During the time period in which ConvergeOne
                    21   undertook these remediation efforts, from September 2018 through April 2019,
                    22   Defendants, by admission, failed to respond to ConvergeOne’s inquiries regarding
                    23   its remediation efforts and costs, including those related to ensuring code compliance
                    24   at the Property.
                    25         15.     Thereafter, ConvergeOne requested Defendants offset payment of rent
                    26   by ConvergeOne, and/or tender payment to ConvergeOne, related to ConvergeOne’s
                    27   expenses incurred as a result of remediation set forth above pursuant to the agreement
                    28   reached by the parties for such offset and/or payment.
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                     1         16.    Despite the agreement between ConvergeOne and Defendants to offset
                     2   payment of rent by ConvergeOne, and/or tender payment to ConvergeOne, related to
                     3   ConvergeOne’s expenses incurred as a result of remediation set forth above,
                     4   Defendants have failed to offset ConvergeOne’s rent payments at the Property and/or
                     5   tender payment to ConvergeOne for no less than $396,794.82 in total remediation
                     6   costs incurred by ConvergeOne.
                     7         17.    On or about July 16, 2019, Defendants, by and through Tyra Liu, the
                     8   executive assistant to Defendants’ principal, sent ConvergeOne a “Notice [sic]
                     9   Nonpayment of Rent (Eviction Notice)” dated July 15, 2019 (“Notice”). This Notice,
                    10   deficient in numerous respects, requested payment of $94,350 in rent within 15 days,
                    11   or that ConvergeOne vacate its tenancy in said time period.
                    12         18.   On July 30, 2019, ConvergeOne tendered payment of the $94,350
                    13   demanded by Defendants under protest pursuant to Paragraph 43 of the Lease.
                    14   Paragraph 43 of the Lease states:
                    15
                                     Performance Under Protest. If at any time a dispute
                    16               shall arise as to any amount or sum of money to be paid by
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                                     one Party to the other under the provisions hereof, the Party
                                     against whom the obligation to pay the money is asserted
                    18               shall have the right to make payment “under protest” and
                    19               such payment shall not be regarded as a voluntary payment
                                     and there shall survive the right on the part of said Party to
                    20               institute suit for recovery of such sum. If it shall be
                    21               adjudged that there was no legal obligation on the part of
                                     said Party to pay such sum or any part thereof, said Party
                    22               shall be entitled to recover such sum or so much thereof as
                    23               it was not legally required to pay. A Party who does no
                                     initiate suit for the recovery of sums paid “under protest”
                    24               within 6 months shall be deemed to have waived its right
                    25               to protest such payment.

                    26
                               19.    Thereafter, on August 20, 2019, ConvergeOne again notified

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                         Defendants that any ensuing rent payments made thereafter were being tendered

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                         under protest pursuant to Paragraph 43 of the Lease until resolution of the issue
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                     1   concerning ConvergeOne’s payment due for the $396,794.82 in total remediation
                     2   costs incurred.
                     3          20.    As of the initiation of this action, ConvergeOne has tendered monthly
                     4   rental payments under protest. Defendants have failed to offset ConvergeOne’s rent
                     5   payments at the Property and/or tender payment to ConvergeOne for the no less than
                     6   $396,794.82 in total remediation costs incurred by ConvergeOne in violation of the
                     7   agreement reached.
                     8          21.    As a direct and proximate result of Defendants’ failure to offset
                     9   ConvergeOne’s rent payments at the Property and/or tender payment to
                    10   ConvergeOne, and deny ConvergeOne’s right to recovery on said basis,
                    11   ConvergeOne has been damaged in an amount of no less than $396,794.82 to be
                    12   proven at trial.
                    13                                   CLAIM FOR RELIEF
                    14                        First Cause of Action – Breach of Contract
                    15                  (Against Yuneec, Firebird and DOES 1-10, inclusive)
                    16          22.    ConvergeOne realleges and incorporates each of the paragraphs above
                    17   as if set forth fully herein.
                    18          23.    ConvergeOne, on the one hand, and Defendants, on the other, entered
                    19   into a valid and enforceable contract as set forth above for offset ConvergeOne’s rent
                    20   payments at the Property and/or tender payment to ConvergeOne for remediation
                    21   costs incurred by ConvergeOne at the Property.
                    22          24.    ConvergeOne has performed all conditions, covenants, and promises
                    23   required on its part to be performed in accordance with the terms of the contract
                    24   entered into with Defendants, except for those acts that have been prevented, delayed,
                    25   or excused by acts or omissions of Defendants and/or their agents.
                    26          25.    ConvergeOne is informed and believes, and based thereon alleges that
                    27   Defendants breached their obligations under the terms of the contract, by, among
                    28   other things, failing to offset payment of rent by ConvergeOne, and/or tender
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                     1   payment to ConvergeOne, as well as respond in a timely manner to any inquiries on
                     2   expenditures, as duly agreed to and as set forth above.
                     3          26.     As a direct and proximate result of the breaches by Defendants there is
                     4   due and owing to ConvergeOne from Defendants the sum of at least $396,794.82,
                     5   with interest thereon at the legal rate according to proof, for remediation expenditures
                     6   incurred by ConvergeOne at the Property.
                     7                       Second Cause of Action – Declaratory Relief
                     8                  (Against Yuneec, Firebird and DOES 1-10, inclusive)
                     9          27.     ConvergeOne realleges and incorporates each of the paragraphs above
                    10   as if set forth fully herein.
                    11          28.     ConvergeOne has expended no less than $396,794.82 in total
                    12   remediation costs at the Property.
                    13          29.     Defendants and each of them have agreed to an offset in payment of
                    14   rent by ConvergeOne, and/or payment to ConvergeOne, as set forth above.
                    15          30.     Defendants and each of them dispute ConvergeOne is entitled to an
                    16   offset in payment of rent by ConvergeOne, and/or payment to ConvergeOne, as set
                    17   forth above.
                    18          31.     ConvergeOne has tendered rent payment pursuant to Paragraph 43 of
                    19   the Lease under protest.
                    20          32.     Accordingly, there is an actual controversy between the parties,
                    21   requiring a declaratory judgment as contemplated by Childs v. Eltinge, 29
                    22   Cal.App.3d 843, 854 (1973).
                    23          33.     This claim for declaratory judgment is brought pursuant to 28 U.S.C. §
                    24   2201 et seq., seeking a determination by the Court that an actual controversy exists
                    25   between ConvergeOne, on the one hand, and Defendants, on the other, related to
                    26   recovery of rent payment made by ConvergeOne under protest as set forth above.
                    27   ///
                    28   ///
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                     1                                 PRAYER FOR RELIEF
                     2         WHEREFORE, ConvergeOne respectfully requests that the Court enter
                     3   judgment against Yuneec, Firebird and DOES 1-10, inclusive, as follows:
                     4         1.     For damages in the sum of at least $396,794.82, with interest accrued
                     5   and accruing;
                     6         2.     For declaratory judgment determining ConvergeOne’s right to recover
                     7   reimbursement or credit of lease payments tendered under protest;
                     8         2.     For attorneys’ fees and costs as contemplated under the Lease, or as
                     9   otherwise recoverable by law; and
                    10         3.     For such other and further relief as the Court may deem just and proper.
                    11

                    12   Dated:     January 29, 2020               DRINKER BIDDLE & REATH LLP
                    13
                                                                   By: /s/ Ryan M. Salzman
                    14                                                Ryan M. Salzman
                    15                                             Attorneys for Plaintiff
                                                                   CONVERGEONE, INC.
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